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                     IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF DELAWARE


BE LABS, INC.,                               :
                                             :
                           Plaintiff,        :
                                             :
      v.                                     :   C. A. No. 17-1051-RGA
                                             :
ENGENIUS TECHNOLOGIES, INC.,                 :
                                             :
                           Defendant.        :

                                         ORDER

             At Wilmington, this 1st day of October, 2018.

             IT IS ORDERED that on or before October 22, 2018, each party or each

party group shall email to Chief Magistrate Judge Thynge, with a copy to her Judicial

Administrator, Cathleen Kennedy, the information requested as follows:

                    a. Whether any discussions have occurred between plaintiff and a

defendant/defendant group regarding settlement; roughly when those discussions

occurred; who was included/involved in those discussions (e.g., principals or party

representations, in house counsel, outside counsel, etc.); status of the settlement

discussions; and, if applicable, the party’s understanding why discussions ended, or

why they have not occurred. Plaintiff will need to address this provision for each

defendant or each defendant group.

                    b. Timing of when a party believes mediation would be most

beneficial/productive (e.g., pre- or post-claims construction briefing after Markman but

before any decisions, after a Markman decision is rendered, before expert reports etc.)
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and a brief explanation why.1 When referencing events in the scheduling order,

include dates.

                       c. Whether there are additional matters/issues (e.g. indemnity from

non-parties, related matters in this or other jurisdictions) of which the court should be

aware affecting a party’s position on mediation and the timing of mediation.2

                       d. For each defendant or defendant group who has received a

settlement demand or engaged in settlement discussions where settlement numbers

were raised, a summary of its impressions/comments/thoughts regarding plaintiff’s

proposal for settlement, or its counterproposal. Each defendant/defendant group shall

advise if any follow up teleconferences are to occur whether they wish them to be

confidential and the order not docketed.

                e. If not included in the header of the email (e.g. the “To” or “CC”

sections), counsel are to provide in their respective email responses, the email

addresses of those who are to be included or copied on any subsequent responses by

the court.

                2. The emails are confidential and copying other parties in this litigation is

not required.

                3. In composing their email submissions, the parties should consider that

the purpose for the information ordered is to enable the court to determine whether,



       1
       Depending on the information in response to paragraph 1, plaintiff may need to
address this provision for each defendant or each defendant group.
       2
       Depending on the information in response to the previous paragraphs, plaintiff
may need to address this provision for each defendant or each defendant group.

                                               2
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when and with whom follow up discussions regarding mediation should occur.

             Local counsel are reminded of their obligations to inform out-of-state

counsel of this order. To avoid imposition of sanctions, counsel shall advise the Court

immediately of any problems regarding compliance with this Order.



                                         /s/ Mary Pat Thynge
                                         Chief U.S. Magistrate Judge




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